     Case 2:13-cr-00106-DOC Document 576 Filed 08/19/22 Page 1 of 4 Page ID #:9414



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     UNITED STATES OF AMERICA
10
                             UNITED STATES DISTRICT COURT
11
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,                No. CR 13-106(A)-DOC
13
                Plaintiff,                    UNITED STATES’ RESPONSE TO
14                                            DEFENDANT’S EX PARTE APPLICATION
                      v.                      FOR DISCLOSURE OF DOCUMENTS
15                                            SUBJECT TO PROTECTIVE ORDER;
     MONGOL NATION, et al.,                   DECLARATION OF CHRISTOPHER BRUNWIN
16
                Defendant.
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19         Defendant filed an ex parte application for disclosure of
20   documents which were previously submitted to the Court on June 28,
21   2022.   (CR 575).     Defendant also made this request to the Court at
22   the most recent hearing, on July 25, 2022, and the Court declined
23   defendant’s request at that time.
24         As addressed previously, documents were produced subject to a
25   Protective Order in United States v. Landa-Rodriguez, CR 18-173-GW.
26   The Protective Order is available from the docket in that case as
27   document 582 in the Landa-Rodriguez case.         On July 21, 2022, the
28   Court in the Landa-Rodriguez case issued an order to permit
     Case 2:13-cr-00106-DOC Document 576 Filed 08/19/22 Page 2 of 4 Page ID #:9415



1    disclosure “so long as such disclosure is made pursuant to a

2    protective order identical to that in docket number 582.”            United

3    States v. Landa-Rodriguez, CR 18-173-GW (CR 3616).           Government

4    counsel directed defense counsel to the Court’s Orders (which were

5    available from the Court’s docket) and the fact that disclosure was

6    conditioned on the entry of a protective order as described, which is

7    reflected in the e-mail defense counsel attached as Exhibit 1 to

8    defendant’s Application.      Government counsel also advised that

9    government counsel recalled that the Court had declined defendant’s
10   request for items at the most recent hearing.
11         Defendant’s reference to a protective order prepared by
12   government counsel in this case is also incorrect.           See Defendant’s
13   Application, at 2:7-10, and Proposed Order, at 2:7-8.           The Landa-
14   Rodriguez Court’s Order (CR 3616) refers to its own docket entry 582,
15   which was entered on June 8, 2018, and indicates, as stated, that an
16   order would need to be entered on identical terms to that entry
17   before disclosure could be made.        Landa-Rodriguez, CR 18-173-GW (CR
18   582, 3616).

19

20    Dated: August 19, 2022,              Respectfully submitted,

21                                         STEPHANIE S. CHRISTENSEN
                                           Acting United States Attorney
22
                                           SCOTT M. GARRINGER
23                                         Assistant United States Attorney
                                           Chief, Criminal Division
24
                                            /s/Christopher Brunwin
25                                         CHRISTOPHER BRUNWIN
                                           Assistant United States Attorney
26
                                           Attorneys for Plaintiff
27                                         UNITED STATES OF AMERICA

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     Case 2:13-cr-00106-DOC Document 576 Filed 08/19/22 Page 3 of 4 Page ID #:9416



1                         DECLARATION OF CHRISTOPHER BRUNWIN

2          I, Christopher Brunwin, declare as follows:

3          1.    I am an Assistant United States Attorney in the United

4    States Attorney’s Office for the Central District of California.                I

5    represent the United States in this case.

6          2.    I advised defense counsel of the status of the July 21,

7    2022 Order in the Landa-Rodriguez matter regarding items previously

8    submitted to the Court, as reflected in the e-mail attached to

9    defendant’s Application.      I provided the docket number for the Order
10   and indicated that it conditioned disclosure on the entry of a
11   protective order, which the Order states would need to be identical
12   to the Order identified at entry 582 on the docket for that case.                I
13   also indicated that I assumed defendant had a copy of the Order,
14   since it has been available from the court docket, which is also true
15   for the Protective Order referred to in the Order (CR 582), which was
16   entered on June 8, 2018.
17         3.    I declare under penalty of perjury under the laws of the
18   United States of America that the foregoing is true and correct to

19   the best of my knowledge and belief.

20         Dated: August 19, 2022.

21
                                              /s/Christopher Brunwin
22                                              CHRISTOPHER BRUNWIN

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